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                                                                               U.S. DISTRICT COURT
                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


  DAVID P. and L.P.,

            Plaintiffs,                              MEMORANDUM DECISION AND
                                                     ORDER GRANTING PLAINTIFFS’
  v.                                                 MOTION FOR SUMMARY JUDGMENT
                                                     AND DENYING DEFENDANTS’
  UNITED HEALTHCARE INSURANCE                        MOTION FOR SUMMARY JUDGMENT
  COMPANY, MORGAN STANLEY CHIEF
  HUMAN RESOURCES OFFICER and THE                    Case No. 2:19-cv-00225-JNP-JCB
  MORGAN STANLEY MEDICAL PLAN,
                                                     District Judge Jill N. Parrish
             Defendants.
                                                     Magistrate Judge Jared C. Bennett




        This action arises under the Employee Retirement Income Security Act of 1974 (ERISA),

 29 U.S.C. § 1001, et seq., and is before the court on the parties’ cross-motions for summary

 judgment. Plaintiffs’ complaint alleges two causes of action: (1) recovery of benefits under 29

 U.S.C. § 1132(a)(1)(B) (“ERISA claim”) and (2) violation of the Mental Health Parity and

 Addiction Equity Act under 29 U.S.C. § 1132(a)(3) (“Parity Act claim”). Defendants United

 Healthcare Insurance Company (“United”), Morgan Stanley Chief Human Resources Officer, and

 the Morgan Stanley Medical Plan (collectively, “Defendants”) moved for summary judgment on

 both causes of action on December 4, 2020. Plaintiffs David P. and L.P. (collectively, “Plaintiffs”)

 moved for partial summary judgment on the ERISA claim on December 4, 2020, and requested an

 extension of the dispositive motion deadline. Defendants agreed to withdraw their summary

 judgment motion as it related to the Parity Act and the parties continued to brief their cross-motions
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 for summary judgment on the Parity Act claim. Defendants moved for partial summary judgment

 on the Parity Act claim on May 14, 2021. Plaintiffs filed their cross-motion for partial summary

 judgment on the Parity Act claim on May 18, 2021.

                                          BACKGROUND

        This dispute involves the denial of benefits allegedly due to Plaintiffs under their ERISA

 employee group health benefit plan, the Morgan Stanley Medical Plan (“the Plan”). Morgan

 Stanley is the Plan Sponsor and Morgan Stanley’s Chief Human Resources Officer is the Plan

 Administrator. Rec. 206. United administers claims for mental health and substance abuse benefits

 under the Plan through its Mental Health and Substance Abuse Claims Administrator, United

 Behavioral Health (“UBH”). Id. 268. Under the Plan, UBH has discretionary authority to interpret

 Plan provisions, set coverage criteria consistent with the Plan, and make decisions regarding

 specific claims for benefits and appeals of benefit denials. Id. 210. David P. was a Plan participant

 at all times relevant to the claims in this case and his daughter, L.P., was a Plan beneficiary. Compl.

 ¶ 5.

        Plaintiffs sought care for L.P.’s mental health and substance abuse conditions at two

 successive Residential Treatment Centers (“RTCs”), first at Summit Achievement (“Summit”) in

 Maine and then at Uinta Academy (“Uinta”) in Utah. Id. ¶ 6. L.P. received care at Summit from

 November 28, 2016, to February 13, 2017, and at Uinta from February 14, 2017, to November 30,

 2017. Id. UBH denied benefits for the duration of L.P.’s stay at Summit. UBH elected to cover the

 first eight days of L.P.’s treatment at Uinta but denied benefits for the remainder of her stay at

 Uinta. Id. ¶¶ 20, 36-37. Plaintiffs contend that UBH’s denial of benefits caused them to pay over

 $177,000 in unreimbursed, out-of-pocket expenses. Id. ¶ 62.




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 I.        THE PLAN

      The Plan offers benefits for medically necessary mental health and substance abuse care. Rec.

 213. The Plan defines medically necessary services as those

           •   Provided for the diagnosis, treatment, cure or relief of a health condition,
               illness, injury, or disease;
           •   Not for experimental, investigational or cosmetic purposes;
           •   Necessary for and appropriate to the diagnosis, treatment, cure, or relief of a
               health condition, illness, injury, disease or its symptoms;
           •   Within generally accepted standards of medical care in the community; and
           •   Not solely for the convenience of the employee, the employee’s family or the
               provider.

 Id. In general, the Plan excludes coverage for “[a]ny services, treatments or supplies that are not

 medically necessary for the prevention, diagnosis or treatment of an illness, injury or pregnancy.”

 Id. 74.

           UBH maintains Level of Care Guidelines (“UBH Guidelines”) that provide a set of

 objective criteria to determine medical necessity, thus standardizing coverage determinations. Id.

 433. The UBH Guidelines define a Residential Treatment Center as a “sub-acute facility-based

 program which delivers 24-hour/7-day assessment and diagnostic services, and active behavioral

 health treatment to members who do not require the intensity of nursing care, medical monitoring

 and physician availability offered in Inpatient.” Id. 430. Under its delegated authority to interpret

 the Plan and develop claims administration criteria, UBH uses two sets of medical necessity

 criteria to make benefits determinations for RTC treatment. In addition to general eligibility

 requirements, UBH’s admissions criteria for RTC treatment requires claimants to meet each of the

 following:

      1. The member’s current condition cannot be safely, efficiently, and effectively
         assessed and/or treated in a less intensive level of care, and
      2. The member’s current condition can be safely, efficiently, and effectively assessed
         and/or treated in the proposed level of care, and
      3. Co-occurring behavioral health and medical conditions can be safely managed, and

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       4. Services are consistent with generally accepted standards of clinical practice, with
          services backed by credible research, and with Optum’s best practice guidelines,
          and
       5. There is a reasonable expectation that service(s) will improve the member’s
          presenting problems within a reasonable period of time, and
       6. The member is not in imminent or current risk of harm to self, others, and/or
          property, and
       7. The “why now” factors leading to admission cannot be safely, efficiently, or
          effectively assessed and/or treated in a less intensive setting due to acute changes
          in the member’s signs and symptoms and/or psychosocial factors.

 Id. 434, 441-42. UBH’s continued care criteria for RTC care requires claimants to meet all of the

 following to remain in RTC care:

       1. The admission criteria continue to be met and active (i.e., a supervised
          individualized treatment plan) treatment is being provided, and
       2. The factors leading to admission have been identified and are integrated into the
          treatment and discharge plans, and
       3. Clinical best practices are being provided with sufficient intensity to address the
          member’s treatment needs, and
       4. The member’s family and other natural resources are engaged to participate in the
          member’s treatment as clinically indicated, and
       5. Treatment is not primarily for the purpose of providing custodial care.

 Id.

 II.      L.P.’S CONDITION

          Aside from a diagnosis of Attention Deficit Disorder (“ADD”) in fourth grade, L.P.

 maintained a relatively typical childhood. Id. 489. However, when L.P. entered high school, her

 condition began to deteriorate. She struggled to connect with peers and became increasingly

 isolated. Id. L.P. reported hearing voices in her head and experienced anxiety attacks serious

 enough that her parents had to pick her up from school. Id. She began to cope by self-harming—

 burning, cutting, and tattooing her skin. Id. L.P. increasingly used drugs and alcohol. She brought

 alcohol to school and began driving while intoxicated. Id. 489, 491.

          L.P.’s psychologist described her condition prior to being admitted to Summit by saying,

 “[s]he had numerous episodes of cutting, driving to endanger, being uncooperative and

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 oppositional at home and in the community and has had significant opioid drug involvement.” Id.

 972. In fact, he reported that “[o]n November 5, 2016, [L.P.] cut herself deeply requiring

 hospitalization.”    Id.   In   her   psychologist’s      opinion,   “[o]utpatient   therapy     and

 psychopharmacological treatment with [L.P.] and her family were insufficient to address her

 emotional, psychological and physical needs.” Id. Her psychologist recommended hospitalization

 “[o]n numerous occasions . . . as [he] feared she might be a danger to herself or others.” Id.

 III.      L.P.’S TREATMENT

           L.P. was admitted to the RTC program at Summit on November 28, 2016. Treatment at

 Summit involves daily group therapy sessions, weekly individual counseling, and clinician-

 facilitated group therapy. Id. 997. A licensed clinical psychologist evaluated her approximately two

 weeks after arriving at Summit. Id. 1004. The psychologist noted that L.P. had “struggled with

 depression, suicidal thoughts, and self-harm” and that she continued to have suicidal thoughts

 while at Summit. Id. 1007-08. He ultimately diagnosed L.P. with generalized anxiety disorder;

 major depressive disorder, recurrent, severe; some emerging traits consistent with borderline

 personality disorder; cannabis use disorder; attention-deficit/hyperactivity disorder, combined

 presentation; and executive function deficit. Id. 1019. Summit developed a set of treatment goals

 to assist L.P. in her treatment at Summit. Id. 1065-68.

        Following his assessment, and considering “the seriousness of these test findings,” the

 psychologist “strongly recommended that following her discharge from Summit Achievement,

 [L.P.] go to a longer-term residential treatment program that can continue addressing each of these

 issues in depth.” Id. 1018-19. L.P.’s Summit therapist also recommended long-term residential

 treatment “[d]ue to [L.P.’s] history of self-harm, substance abuse, risky behavior, and recent




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 identification of emerging Borderline Personality Disorder.” Id. 991. L.P. was discharged from

 Summit on February 13, 2017.

        Based on the above recommendations, L.P.’s parents placed her at Uinta on February 14,

 2017, immediately following her discharge from Summit. Id. 813. United approved eight days of

 treatment at the facility, where L.P.’s preliminary diagnoses included borderline personality

 disorder, ADHD, depressive disorder, anxiety disorder, and substance abuse disorder. Id. 813,

 3381. L.P. remained at Uinta, although United denied benefits from February 22, 2017, onward.

 Id. 2634-35.

 IV.    DENIAL OF BENEFITS

        Plaintiffs admitted L.P. to treatment at Summit without first seeking approval from UBH.

 When Plaintiffs submitted a claim for L.P.’s treatment at Summit, Defendants initially denied the

 claim citing a lack of required preauthorization for the treatment at Summit. Id. 532. Plaintiffs

 appealed, arguing that the Plan did not require preauthorization for residential treatment. Id. 524-

 26. Defendants then issued a level-one denial letter that did not address the preauthorization issue

 but rather reasoned that

        [t]here is no clinical information received that indicates that your daughter required
        24 hour monitoring to treat acute mental health symptoms. She did not want to hurt
        herself. She did not want to hurt others. It seems that her mood and anxiety
        symptoms could have been treated in a less intensive setting.

 Id. 448-49. Following this denial, Plaintiffs submitted an extensive level-two appeal, including a

 23-page letter and over 300 pages of supporting documentation. Id. 486-808. The letter provided

 a chronological history of L.P.’s condition and argued that RTC care at Summit was medically

 necessary, that UBH overlooked L.P.’s substance use disorder diagnosis in making its decision,

 and that UBH’s denial violated the Parity Act. Id. 486-508. Defendants denied the appeal in a level-

 two denial letter, observing that

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        [y]ou were admitted to a therapeutic boarding school, Summit Achievement. After
        reviewing the appeal documents, there was no clinical information provided to
        support the medical necessity for treatment in a psychiatric residential setting or to
        document the daily provision of treatment services.

 Id. 475. Plaintiffs then appealed to an external reviewer, AllMed Healthcare Management, which

 affirmed UBH’s decision. Id. 1571-76.

        UBH initially authorized L.P. for RTC care at Uinta from February 14, 2017, through

 February 16, 2017. Id. 3450. UBH then extended its approval five additional days, through

 February 21, 2017. Id. 3452. After eight days of covered care, UBH denied all further coverage at

 Uinta. UBH’s initial denial of Plaintiffs’ Uinta claim stated that

        [y]our child was admitted for treatment of impaired behaviors. After talking with
        your child’s provider designee, it is noted that your child has made progress and
        that her condition no longer meets Guidelines for further coverage of treatment in
        this setting. Your child's mood is more stable. She is participating in her treatment.
        She is not having any serious mental health issues. She no longer needs the 24/7
        care of a residential setting. Your child could continue care in the Mental Health
        Partial Hospitalization Program setting.

 Id. 2526. Although there was some confusion about Plaintiffs’ appeal, which Defendants appear to

 have misplaced for a period of time, UBH ultimately allowed Plaintiffs to submit a level-one

 appeal. Plaintiffs’ level-one appeal for the Uinta claim largely mirrored their level-two appeal for

 the Summit claim. In their level-one denial of Plaintiffs’ Uinta claim, Defendants responded with

 nearly identical language from their initial Uinta denial letter, maintaining the denial of benefits

 and reasoning that

        [y]our child was admitted for treatment of impaired behaviors and poor coping
        skills. After reviewing the available clinical information, it was noted that your
        child had made progress and that her condition no longer met Guidelines for further
        coverage of treatment in this setting. Your child's mood was more stable. She was
        participating in her treatment. She was not having any serious mental health issues.
        She no longer needs the 24/7 care of a residential setting. Your child could continue
        care in the Mental Health Partial Hospitalization Program setting.




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 Id. 1694-95. Plaintiffs submitted a level-two appeal, attaching the original level-one appeal letter.

 Id. 3817-22. Defendants again denied Plaintiffs’ Uinta claim in its level-two denial letter, stating

 that

         [y]ou were admitted for treatment of problems with your mood, behavior, and
         addiction. After reviewing the available information, it is noted that you had made
         progress and that your condition no longer met Guidelines for further coverage of
         treatment in this setting. You were doing better. You were stable from a medical and
         mental health standpoint. You were not thinking about hurting yourself or others.
         You were thinking clearly. You were motivated. You were participating in treatment
         and using the skills learned. You were able to take care of your needs. You were
         able to go on leaves of absence. You had family support. You did not require 24
         hour nursing care. You could have continued care in the Mental Health Partial
         Hospitalization Program setting.

 Id. 2306-07. Plaintiffs appealed to an external reviewer, which affirmed UBH’s denial of benefits.

 Id. 2249-53.

         In sum, UBH denied benefits for L.P.’s entire stay at Summit. UBH authorized benefits at

 Uinta from February 14, 2017, through February 21, 2017, and denied benefits for her Uinta

 treatment from February 22, 2017, until November 30, 2017. UBH upheld each denial through two

 levels of internal appeals and external reviewers upheld both denials.

 V.      THE PARTIES’ ARGUMENTS ON THE ERISA CLAIM

         Plaintiffs’ ERISA claim arises under 29 U.S.C. § 1132(a)(1)(B), which provides that an

 ERISA plan participant or beneficiary may sue “to recover benefits due to him under the terms of

 his plan, to enforce his rights under the terms of the plan, or to clarify his rights to future benefits

 under the terms of the plan.” Plaintiffs move for summary judgment and argue that they are entitled

 to a reinstatement of benefits for L.P.’s presently uncovered treatment at both Summit and Uinta.

 See ECF No. 39. Specifically, they assert that UBH wrongfully denied their claims by (1) failing

 to consider L.P.’s substance use disorder; (2) wrongfully determining that the relevant treatment

 was not medically necessary; (3) failing to engage with the opinions of L.P.’s treating providers;

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 and (4) failing to articulate how the terms of the Plan applied to L.P.’s medical history. Plaintiffs

 contend that the appropriate standard of review is de novo because of alleged procedural

 irregularities in UBH’s adverse benefits determination process. Finally, Plaintiffs seek an award of

 prejudgment interest and attorney’s fees and costs.

         Defendants also move for summary judgment, contending that UBH properly denied

 benefits because the requested RTC services did not meet the Plan’s requirement that the treatment

 be medically necessary for the claimant. See ECF No. 37. Defendants urge the court to apply the

 arbitrary and capricious standard of review because the Plan vests discretion in UBH to interpret

 the Plan and make benefits claims determinations, and Plaintiffs have identified insufficient

 procedural irregularities to deviate from this deferential standard. Defendants further argue that

 because UBH’s denial of benefits was reasonable, Plaintiffs are not entitled to an award of

 prejudgment interest or attorney’s fees and costs.

                      LEGAL STANDARD FOR SUMMARY JUDGMENT

         Under Federal Rule of Civil Procedure 56(a), “[t]he court shall grant summary judgment

 if the movant shows that there is no genuine dispute as to any material fact and the movant is

 entitled to judgment as a matter of law.” When both parties move for summary judgment in an

 ERISA case, the parties have effectively “stipulated that no trial is necessary” and thus “summary

 judgment is merely a vehicle for deciding the case.” LaAsmar v. Phelps Dodge Corp. Life,

 Accidental Death & Dismemberment & Dependent Life Ins. Plan, 605 F.3d 789, 796 (10th Cir.

 2010) (citation omitted). In these cases, “the factual determination of eligibility of benefits is

 decided solely on the administrative record, and the non-moving party is not entitled to the usual

 inferences in its favor.” Id. (citation omitted).




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                                              ANALYSIS

  I.     STANDARD OF REVIEW FOR DENIAL OF BENEFITS CLAIM

         The court must first determine what standard of review is appropriate to evaluate UBH’s

  denial of benefits for L.P.’s treatment at Summit and Uinta. Defendants argue that the court must

  give significant deference to the determinations of UBH’s reviewers because UBH has

  discretionary authority to make coverage decisions under the Plan and it complied with ERISA’s

  procedural requirements. On the other hand, Plaintiffs argue that the court should apply de novo

  review because of alleged procedural deficiencies in Defendants’ benefits determination

  procedure, both in its initial adverse benefits determination and during the appeals process. While

  this court determines that UBH’s denials suffered from a number of serious procedural

  irregularities that warrant de novo review, the defects in UBH’s denials of benefits are serious

  enough to warrant reversal even under an arbitrary and capricious standard.

         A.      ERISA’s Framework for Judicial Review

         ERISA authorizes Plaintiffs to challenge a denial of benefits under 29 U.S.C.

  § 1132(a)(1)(B) but fails to specify the standard of review that courts should apply. Rasenack ex

  rel. Tribolet v. AIG Life Ins. Co., 585 F.3d 1311, 1315 (10th Cir. 2009). The Supreme Court has

  filled this gap by determining that, in general, “a denial of benefits challenged under

  § 1132(a)(1)(B) is to be reviewed under a de novo standard unless the benefit plan gives the

  administrator or fiduciary discretionary authority to determine eligibility for benefits or to construe

  the terms of the plan.” Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989). Where a

  plan vests such discretion in the plan administrator, a reviewing court will instead apply “a

  deferential standard of review, asking only whether the denial of benefits was arbitrary and

  capricious.” Weber v. GE Grp. Life Assurance Co., 541 F.3d 1002, 1010 (10th Cir. 2008) (citations



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  and internal quotation marks omitted). Here, the parties do not dispute that the Plan expressly gives

  UBH, as the Plan’s Mental Health and Substance Abuse Claims Administrator, the discretion to

  develop criteria and determine whether a claimant is entitled to benefits under the Plan. ECF Nos.

  37 at 5-6, 52 at 8-9.

           Applying arbitrary and capricious review means that this court will uphold the

  administrator’s determination “so long as it is predicated on a reasoned basis.” Adamson v. Unum

  Life Ins. Co. of N. Am., 455 F.3d 1209, 1212 (10th Cir. 2006). Further, “[t]he Administrator’s

  decision need not be the only logical one nor even the best one” as long as it is “sufficiently

  supported by facts within his knowledge.” Finley v. Hewlett-Packard Co. Emp. Benefits Org.

  Income Prot. Plan, 379 F.3d 1168, 1176 (10th Cir. 2004) (quoting Kimber v. Thiokol Corp., 196

  F.3d 1092, 1098 (10th Cir. 1999)).

           But “the arbitrary and capricious standard of review is not without meaning.” McMillan v.

  AT&T Umbrella Benefit Plan No. 1, 746 F. App’x 697, 705 (10th Cir. 2018) (unpublished). The

  administrator’s decision must be “based upon the record as a whole,” and the court “must take into

  account whatever in the record fairly detracts from its weight.” Caldwell v. Life Ins. Co. of N. Am.,

  287 F.3d 1276, 1282 (10th Cir. 2002) (citations, internal quotation marks, and alterations omitted).

           Finally, even where a claims administrator has discretion, a court may apply a less

  deferential standard where a claims administrator’s decision fails to comply with ERISA’s

  procedural requirements. See Rasenack, 585 F.3d at 1316-17. 1


  1
   The court notes the Tenth Circuit has explicitly left open the question of whether the substantial compliance rule still
  applies under the revised 2002 ERISA regulations and has declined to resolve the issue on several subsequent
  occasions. Kellogg v. Metro. Life Ins. Co., 549 F.3d 818, 827-28 (10th Cir. 2008); see, e.g., LaAsmar v. Phelps Dodge
  Corp. Life, Accidental Death & Dismemberment & Dependent Life Ins. Plan, 605 F.3d 789, 800 (10th Cir. 2010) (“We
  need not decide whether [the] ‘substantial compliance’ doctrine still applies to the revised regulation at issue here”);
  Hancock v. Metro. Life Ins. Co., 590 F.3d 1141, 1152 n.3 (10th Cir. 2009) (“Because Ms. Hancock has failed to show
  any noncompliance, we need not consider whether substantial compliance is sufficient under the January 2002
  revisions of ERISA.”); Rasenack, 585 F.3d at 1316 (“Because AIG has failed [the] substantial compliance test . . . we
  need not decide whether a minor violation of the deadlines or other procedural irregularities would entitle the claimant

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            B.     Applicable Standard of Review Here

            As an initial matter, the court rejects Plaintiffs’ arguments that Defendants engaged in

  serious procedural irregularities by failing to reveal the identities and credentials of reviewers.

  Each of UBH’s denial letters was signed by the medical reviewer. Rec. 449, 476, 2527, 1695, 2307.

  All of the letters indicated that the medical reviewer held an M.D. credential. Id. Two of the letters

  specifically identified the subspecialty of the reviewer as “board certified psychologist” and “board

  certified adult/child/adolescent psychiatry and neurology.” Id. 2307, 2527. For appeals, the

  relevant regulations require that Defendants “consult with a health care professional who has

  appropriate training and experience in the field of medicine involved in the medical judgment”

  and “[p]rovide for the identification of medical . . . experts whose advice was obtained on behalf

  of the plan in connection with a claimant’s adverse benefits determination.” 29 C.F.R. § 2560.503-

  1(h)(3)(iii)-(iv). UBH identified each reviewer by name. UBH’s failure to include the specific field

  of practice for three of the reviewers is the sort of procedural irregularity that “do[es] not rise to

  the level as to leave the court with serious doubts as to whether the result reached was the product

  of an arbitrary decision or the plan administrator’s whim.” Amy G. v. United Healthcare, No. 2:17-

  cv-00427-BSJ, 2018 WL 2303156, at *4 (D. Utah May 21, 2018). But Defendants’ failure to

  address L.P.’s substance use disorder and other serious procedural irregularities do raise such

  doubts.

                   1)       Failure to Address L.P.’s Substance Use Disorder

            UBH failed to consider L.P.’s substance use disorder as an independent condition that could

  render her treatment at either Summit or Uinta medically necessary. The Tenth Circuit has



  to de novo review under the 2002 amendments.”). Because the court determines that UBH’s denial of benefits was
  improper even under an arbitrary and capricious review, it need not reach the question of whether the “substantial
  compliance” doctrine still applies under the 2002 ERISA regulations.

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  repeatedly held that a claim administrator’s denial of benefits is only entitled to a “deferential

  standard of review to the extent the administrator actually exercised a discretionary power vested

  in it by the terms of the Plan.” Spradley v. Owens-Ill. Hourly Emps. Welfare Benefit Plan, 686 F.3d

  1135, 1140 (10th Cir. 2012); see also LaAsmar, 605 F.3d at 798 (holding that a “plan administrator

  is not entitled to the deference of arbitrary and capricious review when . . . the administrator made

  no decision to which a court may defer” (citations omitted)). The Tenth Circuit has also noted that,

  in the context of an administrator failing to issue a decision responding to the claimant’s appeal of

  denial of benefits, “[d]eference to the administrator’s expertise is inapplicable where the

  administrator has failed to apply his expertise to a particular decision.” Gilbertson v. Allied Signal,

  Inc., 328 F.3d 625, 632 (10th Cir. 2003). As this court discussed in Raymond M. v. Beacon Health

  Options, Incorporated, 463 F. Supp. 3d 1250, 1269 (D. Utah 2020), the same reasoning applies

  with equal force here. Where a claims administrator cites one condition in denying benefits for

  lack of medical necessity but fails to make a determination of medical necessity for a second,

  independent condition, the administrator has similarly “failed to apply his expertise to a particular

  decision.” Id. (quoting Gilbertson, 328 F.3d at 632). Because “a deferential standard of review [is]

  appropriate when a trustee exercises discretionary powers,” if an administrator fails to exercise

  discretion by neglecting to rule on an independent basis for the claimant’s demand for benefits,

  then a deferential standard is no longer appropriate. Firestone Tire, 489 U.S. at 111.

         There is no question that L.P. suffered from a substance use disorder. The record indicates

  that L.P. regularly used several substances, including “taking several [OxyContin] pills per day,”

  “drink[ing] heavily almost every weekend,” “getting high three or more times per week,” and

  “getting high daily” during the summer. Rec. 497. L.P. was suspended from her softball team after

  a teacher found alcohol in her backpack, and L.P. herself acknowledged that she “repeatedly . . .



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  went to school after drinking or using drugs.” Id. 489, 2717. L.P.’s parents reported that she had

  been driving under the influence of cannabis, once causing her to crash the family’s car. Id. 974.

  Physicians who saw L.P. before her family decided to admit her to Summit were concerned about

  L.P.’s substance use. L.P.’s treating psychologist reported that she “has had significant opioid drug

  involvement.” Id. 972. The psychologist who evaluated L.P. prior to admission to RTC noted that

  she abused both marijuana and cocaine and recommended “[a]ssesment of and possible treatment

  for her substance abuse.” Id. 604. After testing, he diagnosed L.P. with “other substance abuse

  disorder – moderate.” Id. 619.

         The record further demonstrates that L.P. was diagnosed with a substance use disorder and

  that she sought treatment, in part, for that condition at Summit and Uinta. L.P.’s initial treatment

  plan at Summit indicated that one of the reasons for her admission to Summit was substance use.

  Id. 1066-67. Once admitted to Summit, testing by a psychologist confirmed a diagnosis of cannabis

  use disorder and noted that L.P. was “at significant risk for developing more serious addictions.”

  Id. 495, 2718-19. The testing psychologist insisted that “part of her long-term treatment plan must

  include substance abuse specific counseling.” Id. 2718.

         L.P.’s experience at Uinta was similar. L.P.’s initial treatment plan for Uinta indicates that,

  once at Uinta, a provider made a preliminary diagnosis of “[o]ther substance abuse disorder,

  [m]oderate.” Id. 3380. Among the reasons for admission, her initial treatment plan lists “smoking

  marijuana and using cocaine.” Id. 3381. Therapy notes from Uinta indicate that L.P. discussed her

  addiction during therapy and “was given recovery work in the session and as homework.” Id. 3341.

  And Uinta reported that one of the justifications for continued treatment of L.P. was that L.P. shared

  “that she would use substances if she were to leave treatment at this point.” Id. 3396. In sum, the




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  record clearly put UBH on notice that L.P. had a significant substance abuse issue for which she

  sought treatment at both Summit and Uinta.

          UBH’s initial denial letter for L.P.’s stay at Summit denied benefits due to lack of

  preauthorization. Id. 532-34. However, UBH abandoned its preauthorization argument and instead

  relied on medical necessity in all subsequent denial letters. But each of the five subsequent denial

  letters sent by UBH’s reviewers fail to mention any reason why RTC care for L.P.’s substance use

  disorder was not medically necessary. Instead, UBH relied exclusively on statements related to the

  medical necessity of mental health treatment. In UBH’s first-level review denial letter for L.P.’s

  stay at Summit, the reviewer found that “[t]here is no clinical information received that indicates

  that your daughter required 24 hour monitoring to treat acute mental health symptoms” and noted

  that “her mood and anxiety symptoms could have been treated in a less intensive setting.” Id. 448-

  49. For support, the reviewer stated that “[s]he did not want to hurt herself” and “[s]he did not

  want to hurt others.” Id. In their level-two appeal regarding the Summit claim, Plaintiffs provided

  various evidence of L.P.’s extensive substance use disorder, including reports by several

  professionals who had assessed L.P. Id. 486-508. UBH then affirmed the denial of benefits for

  Summit in a second-level review, finding no support for “treatment in a psychiatric residential

  setting.” Id. 474.

          In the initial denial of her Uinta claim, the UBH reviewer stated that L.P. “was admitted

  for treatment of impaired behaviors” and her condition no longer met the guidelines for coverage

  because L.P.’s “mood was more stable” and “[s]he was not having any serious mental health

  issues.” Id. 1694. UBH outlined a similar rationale in its first-level review that affirmed the initial

  benefit denial, saying that L.P. “was admitted for treatment of impaired behaviors and poor coping

  skills” and giving identical reasons for why L.P.’s condition no longer met guidelines for coverage.



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  Id. These rationales underscore that the UBH reviewer indicated to the Plaintiffs that the reviewer

  exclusively considered the medical necessity of treatment for L.P.’s mental health disorders, not

  her substance abuse disorder.

         In its second-level review of L.P.’s Uinta claim, UBH acknowledged L.P.’s substance use

  disorder to Plaintiffs for the first time. The reviewer stated that L.P. was “admitted for treatment

  of problems with your mood, behavior, and addiction.” Id. 2306. But none of the reasoning

  contained in the reviewer’s letter addresses the medical necessity of RTC care for L.P.’s substance

  use disorder. Rather, each rationale either directly relates to mental health (i.e., “[y]ou were not

  thinking about hurting yourself or others”) or represents a vague, conclusory statement not

  evidently tied to treatment of a substance use disorder (i.e., “[y]ou were thinking clearly”; “[y]ou

  were motivated”; “[y]ou were able to take care of your needs”). Id. 2307. Nowhere in the letter

  does the medical reviewer provide a rationale for denying the medical necessity of RTC care

  specific to L.P.’s substance use disorder. This single acknowledgment of L.P.’s substance use

  disorder is the only instance in which a UBH reviewer recognized L.P.’s substance use diagnosis

  in its dialogue with Plaintiffs. And nowhere in the initial denial stage or appeals process for either

  claim did UBH provide any analysis concerning the medical necessity of treatment for that

  condition.

         The court acknowledges that the reviewer from AllMed Healthcare Management, the

  company hired to conduct the external review of Plaintiffs’ Summit claim, recognized her history

  of substance abuse and in the rationale section found that “[t]here were no drug withdrawal

  symptoms noted.” Id. 1572-73. This single rationale, provided by a reviewer outside of UBH,

  cannot excuse UBH’s failure to consider how L.P.’s diagnosed substance use disorder might have

  made it medically necessary for her to receive RTC care at Summit or Uinta.



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           In sum, the record demonstrates that UBH’s reviewers repeatedly failed to take L.P.’s

  substance use disorder into account when making determinations about the medical necessity of

  her treatment at Summit and Uinta, despite the fact that the Plan covers both outpatient and

  inpatient mental health and substance abuse care and Plaintiffs repeatedly raised L.P.’s substance

  use disorder and provided evidence of her substance use disorder in their appeals. Id. 98, 488-508,

  2602-29. UBH’s failure to address L.P.’s substance use disorder in its initial denial of benefits

  violates subsection (g) of ERISA’s regulations because UBH failed to provide the “specific reason

  or reasons for the adverse determination” for benefits related to substance abuse care, 29 C.F.R.

  § 2560.503-1(g)(1)(i), and UBH failed to provide “an explanation of the scientific or clinical

  judgment for the determination, applying the terms of the plan to the claimant’s medical

  circumstances,” concerning the lack of medical necessity for RTC care for L.P.’s substance use

  disorder, id. § 2560.503-1(g)(1)(v)(B).

           UBH further violated the ERISA regulations during the appeals process when Plaintiffs

  repeatedly raised L.P.’s substance use disorder on appeal, and UBH failed to respond. This falls

  short of the “meaningful dialogue” 2 that ERISA requires of administrators, including a “full and


  2
   At oral argument, both parties urged the court to review Mary D. v. Anthem Blue Cross Blue Shield, 778 F. App’x
  580 (10th Cir. 2019) (unpublished). In Mary D., the plaintiffs argued that defendants failed to engage in a meaningful
  dialogue during the administrative process. The court rejected plaintiffs’ argument, holding that defendants met the
  regulatory requirements where they “cited lack of medical necessity as the specific reason for each denial; they
  referenced the residential-treatment criteria that governed the medical-necessity determination; and they provided
  clinical judgment supporting each denial.” Id. at 589. This case differs from Mary D. in two respects. First, Defendants
  failed to cite any rationale for denying Plaintiffs’ claim for L.P.’s substance use disorder. UBH only referenced L.P.’s
  addiction in the final denial letter for Plaintiffs’ Uinta claim, after Plaintiffs had no further opportunity to engage with
  UBH reviewers. Rec. 2306. And as noted above, the letter fails to discuss medical necessity in relation to L.P.’s
  substance use disorder. Second, even the court in Mary D. noted that the ERISA regulations require “clinical judgment
  supporting each denial.” 778 F. App’x at 589 (citing 29 C.F.R. § 2560.503-1(g)). But conclusory statements such as
  “[s]he is not having any serious mental health issues” and “[s]he did not want to hurt herself”—especially in light of
  L.P.’s continuing self-harm—cannot serve as clinical judgment to support the denial of L.P.’s psychiatric claim. Rec.
  449, 2526. Unlike the denial letters in this case, the denial letter in Mary D. cited more specific evidence from the
  patient’s medical record. See Appellant’s Opening Brief at 19, Mary D. v. Anthem Blue Cross Blue Shield, 778 F.
  App’x 580 (10th Cir. 2019) (No. 17-4195) (“You have not harmed yourself to such a degree that has caused serious
  medical problems.”). Finally, the court notes that Mary D. is unpublished; further published guidance from the Tenth
  Circuit on what analysis qualifies as “clinical judgment” would benefit courts in this circuit. In the absence of such
  guidance, this court determines that UBH’s conclusory statements are insufficient to serve as “an explanation of the

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  fair review,” Gilbertson, 328 F.3d at 635, that “takes into account all comments, documents,

  records, and other information submitted by the claimant relating to the claim,” 29 C.F.R.

  § 2560.503-1(h)(2)(iv). Because UBH failed to render a decision concerning the medical necessity

  of RTC care for L.P.’s substance use disorder, “[d]eference to the administrator’s expertise is

  inapplicable” and de novo review is warranted. Gilbertson, 328 F.3d at 632.

                   2)      Additional Procedural Irregularity

          The court notes one additional serious procedural irregularity that it observed in its review

  of UBH’s denial of benefits. Subsection (g) of the ERISA regulations requires claims

  administrators who deny benefits based on the lack of medical necessity to provide claimants with

  the “specific reason or reasons for the adverse determination,” 29 C.F.R. § 2560.503-1(g)(1)(i),

  and “an explanation of the scientific or clinical judgment for the determination, applying the terms

  of the plan to the claimant’s medical circumstances,” id. § 2560.503-1(g)(1)(v)(B). During the

  adverse benefits determination process, Plaintiffs twice requested that UBH include specific

  references to the medical record to support its conclusion that L.P.’s treatment was not medically

  necessary. Rec. 487, 2306. None of UBH’s five letters contain any specific references to L.P.’s

  medical record or the information provided in Plaintiffs’ various appeals letters. Defendants

  instead offered conclusory statements about claimant’s circumstances, without any indication of

  how they reached their conclusions. Such a failure is not a “single honest mistake,” Conkright v.

  Frommert, 559 U.S. 506, 509 (2010), during the administrative process, but rather a repeated

  violation of ERISA’s minimum procedures that require administrators to explain “the specific

  reason for such denial.” 29 U.S.C. § 1133(1); see also 29 C.F.R. § 2560.503-1(g)(1)(i).




  scientific or clinical judgment for the determination, applying the terms of the plan to the claimant’s medical
  circumstances.” 29 C.F.R. § 2560.503-1(g)(1)(v)(B).

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         In conclusion, UBH’s denial of benefits suffered from serious procedural irregularities that

  warrant de novo review. UBH failed to make a medical necessity determination about L.P.’s

  substance abuse, failed to engage in meaningful dialogue with Plaintiffs on appeal, and did not

  provide specific reasoning in its clinical judgment of medical necessity. Nevertheless, the court

  need not provide an extensive de novo review analysis here because UBH’s adverse benefits

  determination fails even an arbitrary and capricious standard of review.

         The court proceeds by first demonstrating that UBH’s decision fails even under an arbitrary

  and capricious standard of review. Then, for the purposes of determining remedies, the court

  considers the proper remedy where, as is the case here, the administrator’s decision is due no

  deference. Under such a circumstance, the court determines that an award of benefits—not

  remand—is the appropriate remedy.

  II.    ARBITRARY AND CAPRICIOUS DENIAL OF PLAN BENEFITS

         In their motion, Plaintiffs make four arguments as to why the administrator’s denial of

  benefits as to Summit and Uinta was arbitrary and capricious. First, they claim that Defendants

  abused their discretion when they denied L.P.’s claim for substance use disorder treatment without

  articulating any basis for doing so. Second, they argue that Defendants abused their discretion

  because L.P.’s treatment was medically necessary under the terms of the Plan. Third, they argue

  Defendants abused their discretion by disregarding L.P.’s treating providers’ opinions. Fourth, they

  argue that Defendants abused their discretion by failing to articulate how they applied the terms of

  the Plan to L.P.’s medical history. Defendants respond that the two decisions to deny benefits were

  reasonable and based on substantial evidence in the administrative record.

         The court notes that UBH appears to have abandoned the argument it outlined in its initial

  denial of L.P.’s Summit claim, that denial was appropriate based on Plaintiffs’ failure to obtain



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  preauthorization prior to L.P.’s admission to Summit. Because UBH has not argued during the

  appeals process nor in this court that lack of preauthorization was the reason for its denial of

  benefits for care at Summit and Uinta, the court will not address that argument further. The court

  instead focuses on whether denying coverage for lack of medical necessity was arbitrary and

  capricious.

         A.      Substance Use Disorder Treatment

         UBH’s denial of benefits for L.P.’s care at Summit and Uinta was arbitrary and capricious

  because UBH failed to consider whether L.P.’s substance use disorder would necessitate RTC care

  independent of her mental health condition. A denial of benefits is arbitrary and capricious where

  the administrator fails to address “another independent ground for [benefits] presented in the

  record and specifically raised in [the claimant’s] administrative appeal.” Gaither v. Aetna Life Ins.

  Co., 394 F.3d 792, 806 (10th Cir. 2004). In Gaither, the administrator’s “focus on whether [the

  claimant] had a psychologically disabling anxiety disorder apparently led them to overlook the

  signs of a potential drug use problem.” Id. at 802. Because the administrator failed to “specifically

  consider[]” the independent basis—a potential drug use problem—for granting the claim, the court

  ruled the administrator’s decision arbitrary and capricious. Id. at 806.

         For the same reasons as in Gaither, UBH’s denial of benefits was arbitrary and capricious

  because it failed to consider L.P.’s independent substance use disorder diagnosis. The Plan offers

  benefits for both mental health and substance abuse care. Rec. 213. The evidence in the record

  demonstrates that L.P. had a history of abusing several different substances prior to her admission

  at Summit. Id. 953, 972, 974. L.P. sought treatment at Summit for her substance abuse (among

  other things) and was evaluated for and diagnosed with cannabis use disorder at Summit. Id. 997,

  1019, 1066-67. Providers at Summit recommended long-term treatment after discharge from



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  Summit, in part because of L.P.’s “intentions to continue substance use after treatment.” Rec. 502,

  991.

          L.P. also received treatment for her substance use disorder at Uinta. Id. 3341, 3380-81.

  L.P.’s initial treatment plan for Uinta indicates L.P.’s diagnosis of “[o]ther substance abuse

  disorder, [m]oderate.” Id. 3380. Among the reasons for admission, her initial treatment plan lists

  “smoking marijuana and using cocaine.” Id. 3381. Therapy notes from Uinta indicate that L.P.

  discussed her addiction during therapy and “was given recovery work in the session and as

  homework.” Id. 3341. On June 7, 2017—over three months after UBH denied further coverage for

  treatment at Uinta—her providers at Uinta noted that one reason for continued treatment at Uinta

  was that L.P. stated “that she would use substances if she were to leave at this point.” Id. 3396. In

  sum, the record clearly put UBH on notice that L.P. had a significant substance abuse issue that

  was being treated at both Summit and Uinta.

          Plaintiffs also repeatedly highlighted L.P.’s history of substance abuse in their appeals

  letters. Id. 489-91, 494-502, 2605-11, 2623, 2627. And in appeals letters regarding both the

  Summit and Uinta claims, Plaintiffs specifically noted that L.P. “has been diagnosed with

  substance use disorders by multiple professionals” but that UBH reviewers had “completely failed

  to acknowledge these diagnoses.” Id. 505, 2627. L.P.’s parents requested that in future reviews,

  UBH “take into account [L.P.’s] need for treatment to address her substance use disorders. Id. 506,

  2627.

          Despite L.P.’s family’s attempt to draw UBH’s attention to L.P.’s substance abuse, UBH

  reviewers failed to even acknowledge L.P.’s substance use disorder until their final appeal denial.

  Id. 2306-07. Even then, the UBH reviewer simply noted that L.P. was admitted “for treatment of

  problems with your mood, behavior, and addiction.” Id. 2306. The reviewer lists generic rationales



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  for denial of benefits, including “[y]ou were doing better,” “[y]ou were motivated,” and “[y]ou

  were thinking clearly.” Id. 2307. It is unclear if these rationales were supposed to apply to L.P.’s

  mental health diagnoses or her substance use disorder. In any case, they lack any factual grounding

  or citations to L.P.’s medical record. While the reviewer provided some rationales specifically

  related to L.P.’s mental health diagnoses (e.g., “[y]ou were not thinking about hurting yourself or

  others”), the reviewer failed to provide any rationale specifically related to why RTC care was not

  medically necessary to treat L.P.’s substance use disorder, thus failing to dispel the appearance that

  the reviewer never actually considered L.P.’s substance use disorder.

         Just as in Gaither, UBH rejected Plaintiffs’ claims for benefits concerning L.P.’s substance

  abuse “without a substantial basis for doing so, without following up on obvious leads, and

  apparently without specifically considering the claim at all.” 394 F.3d at 806. Because of UBH’s

  failure to consider an independent ground for benefits, UBH abused its discretion by making a

  determination that “was not the product of a principled and deliberative reasoning process.” Metro.

  Life Ins. Co. v. Glenn, 554 U.S. 105 (2008) (citation omitted).

         B.      Treating Providers’ Opinions

         “Nothing in [ERISA] itself . . . suggests that plan administrators must accord special

  deference to the opinions of treating physicians. Nor does [ERISA] impose a heightened burden

  of explanation on administrators when rejecting a treating physician’s opinion.” Black & Decker

  Disability Plan v. Nord, 538 U.S. 822, 831 (2003). At the same time, “administrators . . . may not

  arbitrarily refuse to credit claimant’s reliable evidence, including the opinions of a treating

  physician.” Id. at 834. The Tenth Circuit echoes this standard, also in the context of disability

  benefits, holding that “fiduciaries cannot shut their eyes to readily available information when the

  evidence in the record suggests that the information might confirm the beneficiary’s theory of



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  entitlement and when they have little or no evidence in the record to refute that theory.” Gaither,

  394 F.3d at 807.

         Plaintiffs submitted several letters from treating physicians recommending residential care

  for L.P. Id. 953, 972, 975. Plaintiffs claim that Defendants did not acknowledge those letters in

  their denials. As an initial matter, the court finds that the claims administrators did at least

  acknowledge the treating professional’s opinions. At each level of review for both claims, the

  reviewing physician noted that their review included either “appeal letters” or “your appeal

  request.” Id. 448, 475, 1572, 1694, 2306. The appeal letters submitted by Plaintiffs included both

  excerpts containing recommendations from treating physicians and attachments including

  complete letters or reports from treating physicians detailing their opinions. Thus, the evidence

  shows that the claims administrators did not fail to acknowledge the treating professionals’

  opinions. But whether Defendants engaged with those opinions is an entirely separate question.

         In this instance, the evidence demonstrates that UBH reviewers did not engage with L.P.’s

  treating providers’ opinions when dialoguing with Plaintiffs. L.P.’s treating psychologist

  recommended hospitalization “[o]n numerous occasions” because he “feared she might be a

  danger to herself or others.” Id. 972. He expressed his opinion that “[o]utpatient therapy and

  psychopharmacological treatment with [L.P.] and her family were insufficient to address her

  emotional, psychological, and physical needs.” Id. Other professionals who evaluated L.P. prior to

  her admission at Summit recommended admission to residential therapy. Id. 953, 975. And her

  licensed clinical professional counselor at Summit told her parents that “[d]ue to [L.P.’s] history

  of self-harm, substance use, risky behavior, and recent identification of emerging Borderline

  Personality Disorder traits, [L.P.] will benefit from enrollment in a long-term residential treatment

  center.” Id. 991. Similarly, the clinical psychologist who evaluated L.P. while at Summit agreed,



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  urging that “[g]iven the seriousness of these test findings, it is strongly recommended that

  following her discharge from Summit achievement, [L.P.] go on to a longer-term residential

  treatment program.” Id. 1018-19. UBH had access to each of these opinions via Plaintiffs’ appeals

  and the administrative record.

         The denial letters entirely fail to engage with these opinions. None of the letters even

  reference the various professional opinions submitted by Plaintiffs in their appeal letters. In fact,

  in some instances the conclusory statements in the denial letters stand in direct contrast to L.P.’s

  treating providers’ opinions. For example, the first-level denial of L.P.’s Summit claim states that

  L.P. “did not want to hurt herself.” Id. 449. This stands in stark contrast to L.P.’s outpatient

  psychologist, who reported that she “had numerous episodes of cutting” prior to entering Summit,

  id. 972, and her therapist at Summit who reported concern about L.P.’s “high risk behaviors

  including self-harm, which is still occurring at Summit,” id. 895. While the plan administrators

  need not have given special deference to these opinions, they were not entitled to “shut their eyes

  to readily available information when the evidence in the record suggests that the information

  might confirm the [Plaintiffs’] theory of entitlement.” Gaither, 394 F.3d at 807. The court thus

  finds that Defendants abused their discretion by not fairly engaging with L.P.’s treating

  professionals’ opinions.

         C.      Medical Necessity and Application of the Terms of the Plan to L.P.’s Medical
                 History

         Plaintiffs contend that Defendants abused their discretion by failing to apply the specific

  terms of the plan to the claimant’s medical circumstances. Plaintiffs support this argument by

  arguing that Defendants fail to cite specific provisions of the Plan or specific portions of L.P.’s

  medical records. Plaintiffs further argue that Defendants abused their discretion by failing to

  meaningfully engage with L.P.’s medical history, which Plaintiffs argue demonstrates that her

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  treatment was medically necessary. Defendants counter that each of UBH’s five adverse benefit

  determination letters provide the reasons for their denial and the reviewers’ clinical judgment for

  the denial.

         The law is not very clear as to what level of specificity is required from claims

  administrators in applying a plan’s terms to the medical records to determine medical necessity.

  The Tenth Circuit has found the denial of benefits arbitrary and capricious where a reviewer “failed

  to explain how [she] reached her conclusion,” DeGrado v. Jefferson Pilot Fin. Ins. Co., 451 F.3d

  1161, 1175 (10th Cir. 2006); where administrators inappropriately relied on certain evidence while

  disregarding other evidence presented, Caldwell v. Life Ins. Co. of N. Am., 287 F.3d 1276, 1285-

  86 (10th Cir. 2002); and where the reviewers letters “contain[ed] nothing more than conclusory

  statements” and demonstrated a “lack of any analysis, let alone reasoned analysis,” McMillan v.

  AT&T Umbrella Benefit Plan No. 1, 746 F. App’x 697, 706 (10th Cir. 2018) (unpublished).

         This court has previously found coverage denials arbitrary and capricious where the denial

  letters “contain[ed] neither citations to the medical record nor references to the report by

  [Plaintiff’s] doctors” and were instead “conclusory statements without factual support.” Raymond

  M. v. Beacon Health Options, Inc., 463 F. Supp. 3d 1250, 1282 (D. Utah 2020). In Kerry W. v.

  Anthem Blue Cross Blue Shield, this court rejected the following statements as conclusory: “you

  no longer need 24 hour structured care,” “you are not positively participating in the program,” and

  “you are no longer harming yourself [and] you are able to control your behaviors.” 444 F. Supp.

  3d 1305, 1313 (D. Utah 2020). Citing Kerry W., this court also rejected conclusory statements in

  Raymond M., such as the patient’s “symptoms improved,” she was not “psychotic or aggressive,”

  and she had a “supportive family.” 463 F. Supp. 3d at 1282.




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         The denial letters from UBH regarding Plaintiffs’ Summit claim were even more cursory

  than the denial letters in Raymond M. and Kerry W. In their first-level denial, UBH stated that

         There is no clinical information received that indicates that your daughter required
         24 hour monitoring to treat acute mental health symptoms. She did not want to hurt
         herself. She did not want to hurt others. It seems that her mood and anxiety
         symptoms could have been treated in a less intensive setting.

  Rec. 448-49. In their second-level denial letter, UBH largely recapitulated the same
  statements, stating that

         You were admitted to a therapeutic boarding school, Summit Achievement. After
         reviewing the appeal documents, there was no clinical information provided to
         support the medical necessity for treatment in a psychiatric residential setting or to
         document the daily provision of residential treatment services.

  Id. 475. The denial letters contain no specific citation to the medical record whatsoever. If the UBH

  reviewers did indeed “gather [and] examine relevant evidence” as required by Kimber v. Thiokol,

  they made no reference to that evidence—such as any report by any doctor that they relied on in

  reaching their conclusions—in their denial letters. 196 F.3d 1092, 1097 (10th Cir. 1999). Instead,

  the letters merely contain general statements about L.P.’s condition and treatment. The conclusory

  statement that L.P. “did not want to hurt herself” is particularly surprising, given reports by her

  outpatient psychologist that she engaged in significant self-harm before admission to Summit and

  reports by her treating therapist at Summit that she continued to self-harm while at Summit. Rec.

  895, 972. L.P.’s Summit records also document a call home to her mother to “update her on [L.P.’s]

  left hand/forearm self harm,” id. 910, as well as an incident of suicidal ideation at Summit that led

  staff “to look through her room for any potential objects she could hurt herself with” after L.P.

  “expressed thoughts of ‘doing it tonight,’” id. 922. Finally, UBH provided no explanation for why

  it determined that RTC treatment was not medically necessary at Summit, but abruptly became

  medically necessary after L.P.’s discharge from Summit to Uinta. In light of the foregoing evidence

  in the record, absent some reference to L.P.’s medical record explaining how the reviewer applied

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  the Plan terms to L.P.’s circumstances to determine that L.P.’s condition did not merit care at an

  RTC, the court must find that UBH abused its discretion in denying L.P.’s Summit claim for lack

  of medical necessity.

         While UBH’s rejection letters for L.P.’s Uinta claim provide some rationales to support

  UBH’s conclusion that L.P.’s goals of admission at Uinta had been met, the letters again fail to cite

  to any evidence in L.P.’s medical record to verify the rationales. The letters state that L.P. “is

  participating in her treatment” and “is not having any serious mental health issues.” Id. 1694, 2526.

  They add that L.P.’s “mood is more stable” and that she “has made progress.” Id. The second-level

  denial argues that L.P. was “doing better,” was “stable from a medical and mental health

  standpoint,” was “not thinking about hurting [herself] or others,” was “thinking clearly,” and was

  “motivated.” Id. 2307. It further stated that L.P. was “participating in treatment and using the skills

  learned” and was “able to take care of [her] needs [and] go on leaves of absence” and that L.P.

  “had family support.” Id.

         Absent any citation to L.P.’s medical record at Uinta or factual findings by the reviewer to

  support these rationales, it is difficult to evaluate whether these rationales were reasonable

  assessments of L.P.’s then present condition. The initial denial letter states that the medical

  reviewer “talk[ed] to your child’s provider designee” but fails to cite any specific statements by

  the provider that would support the reviewer’s conclusion that L.P. “no longer needs the 24/7 care

  of a Residential setting.” Id. 2526. Similar to the reviewers in Raymond M. and Kerry W., UBH

  did not explain the “factual findings to support their conclusions,” “did not offer any responses to

  the diagnoses and reports included by [the claimant] in her appeal,” and “did not cite any reports

  by [UBH’s] doctors or doctors at [Summit or Uinta] on which they relied in reaching their

  conclusions.” 463 F. Supp. 3d at 1282-83; 444 F. Supp. 3d at 1313.



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         In contrast, there is evidence in L.P.’s medical record that she continued to struggle at Uinta.

  L.P. continued to hear screaming in her head, have panic attacks, display aggressive behavior, and

  self-harm. Rec. 2619-20. UBH needed to provide some reasoned analysis for why treatment at

  Uinta was no longer medically necessary based on factual findings from L.P.’s medical record.

  This is particularly important given that UBH considered RTC care medically necessary for L.P.

  during the first week of her stay at Uinta. UBH relied on conclusory statements instead of

  indicating facts in L.P.’s medical record that it relied on in determining that L.P.’s condition had—

  in only eight days—changed sufficiently to deny her claim. Thus, UBH abused its discretion by

  failing to apply the terms of the Plan to L.P.’s specific medical history to determine the medical

  necessity of care at Uinta.

                 1)      Internal Notes

         Defendants urge the court to consider reviewers’ internal notes, in addition to the denial

  letters, in determining the propriety of an adverse benefit determination. Defendants claim that

  these notes are more substantive and provide more detail regarding L.P.’s medical history and the

  reason why the UBH reviewers determined that treatment was not medically necessary. Plaintiffs

  counter that the court should limit itself to considering rationales specifically articulated in the

  denial letters, and refrain from considering internal documents like notes maintained by the

  reviewers.

         Plaintiffs cite Spradley v. Owens-Ill. Hourly Employees Welfare Benefit Plan for the Tenth

  Circuit’s proposition that in an ERISA case considering benefit denial “the federal courts will

  consider only those rationales that were specifically articulated in the administrative record as the

  basis for denying a claim.” 686 F.3d 1135, 1140 (10th Cir. 2012). This citation leaves open the

  question of whether this court should look to any rationale articulated anywhere in the



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  administrative record, or only those rationales provided to Plaintiffs during the administrative

  process.

         Defendants counter with Tracy O. v. Anthem Blue Cross Life and Health Insurance

  Company, where the Tenth Circuit affirmed a district court decision that considered reviewing

  physicians’ internal notes to establish that the reviewing physicians reviewed the patient’s

  treatment history and acknowledged the patient’s past psychiatric history and self-injurious

  behaviors. 807 F. App’x 845 (10th Cir. 2020) (unpublished). But in the district court’s decision,

  there is no indication that the Defendants used the internal notes to establish any rationales not

  already stated in the denial letters. No. 2:16-cv-422-DB, 2017 WL 3437672, at *10 (D. Utah Aug.

  10, 2017) (citing to the physician’s internal notes for the conclusion that “in-patient treatment was

  not medically necessary” while the denial letters stated that “[t]he information your provider gave

  us does not show that this is medically necessary”). Rather, the internal notes were merely used to

  reiterate that the reviewers had, in fact, discussed the patient’s treatment history with her provider,

  which was also stated in the denial letter. Moreover, in addition to lacking precedential value, the

  Tenth Circuit opinion made no explicit findings regarding the propriety of considering the internal

  notes of reviewers.

         Like the parties, the court was unable to find any Tenth Circuit case law directly addressing

  the issue of whether to consider UBH reviewers’ internal notes. Absent direct guidance, the court

  looks to the purpose of ERISA, which weighs in favor of requiring reviewers to fully state their

  rationales to claimants during the administrative process. ERISA and its regulations clearly require

  UBH to provide claimants with a written decision “setting forth the specific reasons for such

  denial, written in a manner calculated to be understood by the [claimant].” 29 U.S.C. § 1133(1);

  see also 29 C.F.R. § 2560.503-1(h)(3). The purpose of this requirement is undermined “where plan



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  administrators have available sufficient information to assert a basis for denial of benefits, but

  choose to hold that basis in reserve rather than communicate it to the beneficiary.” Glista v. Unum

  Life Ins. Co. of Am., 378 F.3d 113, 129 (1st Cir. 2004) (citing Juliano v. Health Maint. Org. of N.J.,

  Inc., 221 F.3d 279, 288 (2d Cir. 2000)). Requiring UBH to provide Plaintiffs with specific reasons

  for denial “enable[s] the claimant to prepare adequately for any further administrative review, as

  well as appeal to the federal courts.” Halpin v. W.W. Grainger, Inc., 962 F.2d 685, 689 (7th Cir.

  1992).

           When faced with a request by defendants to consider internal notes, another court in this

  district has employed the First Circuit’s test for “whether a plan administrator may defend a denial

  of benefits on the basis of a different reason than it articulated to the claimant during the internal

  review process.” D.K. v. United Behavioral Health, 2:17-cv-01328-DAK, 2021 WL 2554109, at

  *11 (D. Utah June 22, 2021) (quoting Glista, 378 F.3d at 129). The Glista court considered: (1)

  whether traditional insurance law places the burden on the insurer to prove the applicability of a

  similar benefits exclusion rationale; (2) whether the plan expressly provided that participants must

  receive a written explanation of the reasons for the denial; (3) whether the administrator gave an

  explanation for why it failed to explain its unstated reason for denying the claim earlier; and (4)

  whether the facts of the situation require that the controversy be resolved quickly. See id. (citing

  Glista, 378 F.3d at 131). Relying on this test, the D.K. court held defendants to the rationales in

  their denial letter where the second and third Glista considerations were satisfied. Id. at *12.

  Similarly, in this case the Plan requires the administrator to provide the claimant with an initial

  written notice explaining “[t]he specific reasons for denial” as well as the specific reasons for

  denial on appeal Rec. 194. And Defendants have not given any reason why they did not include

  their full reasoning for the denial in the letters sent to Plaintiffs. Without any reason justifying their



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  failure to explain their internal reasoning for denying L.P.’s claims, this court agrees with the D.K.

  court that Defendants cannot now rely on those rationales.

           In light of the lack of guidance from the Tenth Circuit, the court relies on the underlying

  purpose of ERISA, along with the balancing test provided by the First Circuit, to decline to

  consider the physician’s internal records for the purpose of determining the Defendants’ rationales

  in denying L.P. coverage. The court instead considers whether the Defendants’ decision was

  arbitrary and capricious based only on the “denial rationales articulated in the denial letters.” D.K.,

  2021 WL 2554109, at *12.

                    2)       External Reviewers

           Finally, Defendants urge the court to consider rationales provided in letters from external

  reviewers, which Defendants claim provide detailed factual support and reasoned analysis for their

  determination that L.P.’s residential treatment was not medically necessary. Defendants argue that

  the external reviewer reports constitute substantial evidence showing that UBH’s final adverse

  benefit determinations were not arbitrary and capricious.

           Defendants cite a series of cases where courts have referenced the external reviewers’

  conclusions in an opinion. 3 In one of these cases, the court gives no indication of what weight it

  accords the external reviewer’s report. Jeffrey F., 2017 WL 1424027, at *3. 4 In most of the other




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   Amy G. v. United Healthcare, No. 2:17-cv-00427-BSJ, 2018 WL 2303156 (D. Utah May 21, 2018); Jeffrey F. v.
  McGraw Hill Fin., Inc., No. 2:15-cv-00874-BSJ, 2017 WL 1424027 (D. Utah Apr. 20, 2017); Mark M. v. United
  Behavioral Health, No. 2:18-cv-00018-BSJ, 2020 WL 5259345 (D. Utah Sept 30, 2020); Tracy O. v. Anthem Blue
  Cross Life and Health Ins., 807 F. App’x 845, 854 (10th Cir. 2020) (unpublished); Brian C., No. 1:16-cv-93-DAK,
  2017 WL 4564737 (D. Utah Oct. 11, 2017); Robert O. v. Harvard Pilgram Health Care, Inc., No. 2:17-cv-1251-TC,
  2019 WL 3358706 (D. Utah July 25, 2019).
  4
    Defendants cite Brian C., 2017 WL 4564737, for the proposition that “independent external reviewer reports have
  been considered by both the Tenth Circuit and courts in this District as additional substantial evidence supporting
  claim administrators’ final adverse benefit determinations.” ECF No. 53, p. 10. But in Brian C., the court states that
  Plaintiffs sought an “initial review,” “formal reconsideration,” “a level one appeal,” and a “level two appeal.” Id. at
  *2. There is no indication that any level of review was conducted by an external reviewer.

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  cases, the court independently found that the administrator’s determination was not arbitrary and

  capricious, and simply used the external reviewer’s decision as confirmation. See, e.g., Amy G.,

  2018 WL 2303156, at *5 (“The court finds that such determination [by United] was not arbitrary

  and capricious . . . [a]nd indeed, the external review performed by an additional health care

  professional similarly determined that treatment at a residential treatment facility was not

  appropriate.”); Mark M., 2020 WL 5259345, at *12; Tracy O., 807 F. App’x 845, 854 (10th Cir.

  2020). Only one case cited by the Defendants “credits the opinions of the independent medical

  reviewers” to determine that treatment was not medically necessary. Robert O., 2019 WL 3358706,

  at *11. But Robert O. provides little information about the rationales given by the internal

  reviewers, so this court is unable to determine whether the external reviewer merely confirmed the

  internal rationales or provided additional, independent reasoning for the medical necessity

  determination. And, of course, Robert O.’s reasoning is not binding on this court. As such, this

  court gives little weight to the Robert O. court’s use of the rationales of external reviewers.

         While it is true that an external reviewer’s approval of the plan administrator’s benefits

  determination can provide some indicia that the administrator’s determination was reasonable, the

  administrator’s determination must stand on its own. Stated in other terms, the rationales provided

  in the five UBH letters must independently demonstrate that UBH’s final benefits determination

  was not arbitrary and capricious. The operative question is whether the determination by UBH—

  not the determination by external reviewers—was an abuse of discretion under the arbitrary and

  capricious standard. See 29 C.F.R. § 2560.503-1(g)(1). Rationales and factual evidence later cited

  by external reviewers cannot salvage deficient rationales or findings of fact provided by UBH. For

  that reason, while the court has considered the full administrative record, it has prioritized the




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  rationales laid out in UBH’s five denial letters in ruling that UBH’s determination was arbitrary

  and capricious.

         For the foregoing reasons, the court concludes that the denials were arbitrary because, as

  in McMillan v. AT&T Umbrella Benefit Plan No. 1, UBH’s letters demonstrate a “lack of any

  analysis, let alone reasoned analysis.” 746 F. App’x 697, 706 (10th Cir. 2018) (unpublished). They

  consisted of “nothing more than conclusory statements” without any specific citation to facts in

  the record that would support the reviewers’ medical necessity determinations. Id.

  II.    PARITY ACT VIOLATION

         Plaintiffs additionally claim that UBH violated the Mental Health Parity and Addiction

  Equity Act (“the Parity Act”) by placing treatment limitations on coverage for mental health

  conditions that are not placed on medical and surgical conditions. Defendants deny any Parity Act

  violation, stating that Plaintiffs have adduced no evidence that Defendants apply restrictions to

  treatment of mental health and substance abuse conditions that are not applicable to medical and

  surgical conditions. Because the court finds that reversal of UBH’s benefits decision is appropriate

  on the basis that the determination was arbitrary and capricious, the court does not reach the issue

  of whether Defendants violated the Parity Act.

  III.   REMEDY

         Plaintiffs request that this court enter a judgment ordering Defendants to pay for L.P.’s

  treatment at Summit and Uinta. Plaintiffs further request prejudgment interest and attorney’s fees

  and costs. In the event that the court rules for the Plaintiffs, Defendants request that the court

  remand the claims back to UBH for further review. For the reasons discussed below, the court

  determines that awarding benefits is the appropriate remedy where the plan administrator’s




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  decision is due no deference, and, further, that an award of benefits would be appropriate even

  were the case subject only to arbitrary and capricious review.

         A.        Award of Benefits

          The court has catalogued copious evidence that UBH failed to consider in reaching its

  conclusion. As discussed above, Defendants’ failure to consider this evidence warrants a reversal

  of UBH’s decision under arbitrary and capricious review. And considering this same evidence

  under a de novo standard, the court concludes that Plaintiffs are entitled to an award of benefits.

  Where the de novo standard applies, the court is required to make “an independent determination

  of the issue.” See United States v. First City Nat’l Bank, 386 U.S. 361 (1967) (holding that “review

  de novo” means “that the court should make an independent determination of the issues”). Remand

  cannot be an appropriate remedy where the court has already made its own independent

  determination.

         “When applying a de novo standard in the ERISA context, the role of the court reviewing

  a denial of benefits is to determine whether the administrator made a correct decision.” Niles v.

  Am. Airlines, Inc., 269 F. App’x 827, 832 (10th Cir. 2008) (unpublished) (citation omitted). For

  ERISA benefits claims, de novo “standard is not whether ‘substantial evidence’ or ‘some evidence’

  supported the administrator’s decision.” Id. at 833. Rather, “it is whether the plaintiff’s claim for

  benefits is supported by a preponderance of the evidence based on the district court’s independent

  review.” Id.; see also Ray v. UNUM Life Ins. Co. of Am., 244 F. App’x 772, 782 (10th Cir. 2007)

  (unpublished) (approving of district court’s application of preponderance of evidence standard).

         The record before this court demonstrates that the evidence supporting Plaintiffs’ claim for

  benefits easily reaches the preponderance of evidence standard. L.P. continued to experience

  suicidal thoughts and hear screaming in her head during her treatment. She expressed a desire to



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  continue using substances upon discharge. L.P. engaged in risky behaviors that caused her treating

  psychologist at Summit to strongly recommend longer-term residential treatment following

  Summit. She continued to self-harm at both facilities. In the court’s judgment, the preponderance

  of the evidence (discussed in more detail above) establishes that L.P.’s then “current condition

  [could not] be safely, efficiently, and effectively assessed and/or treated in a less intensive level of

  care.” Rec. 442. Thus, the Plaintiffs have carried their burden of demonstrating that L.P.’s treatment

  was medically necessary.

          Were this case subject only to the arbitrary and capricious standard, the court would order

  the same remedy. Under the abuse of discretion standard, where “a denial of benefits based on the

  record was unreasonable,” the Tenth Circuit has stated that “[a] remand of an ERISA action seeking

  benefits is inappropriate.” Ray, 224 F. App’x at 781 (citation omitted); see also Caldwell v. Life

  Ins. Co. of N. Am., 287 F.3d 1276, 1288-89 (10th Cir. 2002) (“[A] remand for further action is

  unnecessary [if] the case is so clear cut that it would be unreasonable for the plan administrator to

  deny the application for benefits on any ground.”). In determining that UBH’s decision was

  unreasonable, the court weighs heavily L.P.’s stated desire to continue using substances after

  discharge. L.P.’s treating psychologist at Summit placed her at a significant risk of developing

  more serious addictions. In this court’s experience, individuals with substance use disorders are at

  a high risk of relapse, even with a strong commitment to sobriety. L.P. lacked any such

  commitment. Therefore, the decision to step L.P. down from the structured RTC environment to a

  partial hospitalization program, where she would have had access to substances and could

  potentially have caused herself serious harm, was unreasonable.

          And remanding the matter back to UBH for further process would “create an unfair ‘heads

  we win; tails, let’s play again’ system of . . . benefits adjudication.” Tam v. First Unum Life Ins.



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  Co., 491 F. Supp. 3d 698, 712 (C.D. Cal. 2020) (quoting Benecke v. Barnhart, 379 F.3d 587, 595

  (9th Cir. 2004)) (refusing to remand in the disability benefits determination context). Allowing the

  Defendants multiple bites at the proverbial apple discourages them from engaging in meaningful

  dialogue with claimants in the first instance, which undermines one of the core purposes behind

  ERISA: “to promote the interests of employees and their beneficiaries in employee benefit plans.”

  Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 90 (1983); see also Rasenack ex rel. Tribolet v. AIG

  Life Ins. Co., 585 F.3d 1311, 1318 (10th Cir. 2009) (noting that “ERISA’s stated purpose[ ]”

  includes “protecting the interests of participants in employee benefits plans and their beneficiaries

  by establishing standards of conduct, responsibility, and obligations for fiduciaries of employee

  benefit plans” (alterations and citation omitted)).

         Accordingly, this court declines to remand the claims back to UBH and instead awards

  benefits for the duration of L.P.’s stay at Summit and Uinta.

         B.      Prejudgment Interest

         Under ERISA “prejudgment interest is available in the court’s discretion” because ERISA

  permits a plan participant to seek “appropriate equitable relief.” Weber v. GE Grp. Life Assurance

  Co., 541 F.3d 1002, 1016 (10th Cir. 2008) (alteration and citation omitted); see also 29 U.S.C.

  § 1132(a)(3)(B); Allison v. Bank One-Denver, 289 F.3d 1223, 1244 (10th Cir. 2002) (“The award

  of prejudgment interest is considered proper in ERISA cases.”). In ERISA cases, “prejudgment

  interest should run from the date the claim for benefits was first filed.” Caldwell, 287 F.3d at 1287.

         The court determines that prejudgment interest is appropriate in this case to compensate

  Plaintiffs for “being deprived of the monetary value of [their] loss from the time of the loss to the

  payment of the judgment.” Id. at 1286 (affirming a grant of prejudgment interest). Accordingly,

  the court GRANTS Plaintiffs’ request for prejudgment interest.



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         C.      Attorney’s Fees and Costs

         Under 29 U.S.C. § 1132(g)(1), a court “in its discretion may allow a reasonable attorney’s

  fee” when a “claimant has achieved ‘some degree of success on the merits.’” Cardoza v. United of

  Omaha Life Ins. Co., 708 F.3d 1196, 1207 (10th Cir. 2013) (quoting Hardt v. Reliance Standard

  Life Ins. Co., 560 U.S. 242, 245 (2010)). The Tenth Circuit has established five factors a court may

  consider in deciding whether to exercise its discretion to award attorney’s fees and costs:

         (1) The degree of the opposing party’s culpability or bad faith; (2) the opposing party’s
         ability to satisfy an award of fees; (3) whether an award of fees would deter others from
         acting under similar circumstances; (4) whether the party requesting fees sought to benefit
         all participants and beneficiaries of an ERISA plan or to resolve a significant legal question
         regarding ERISA; and (5) the relative merits of the parties’ positions.

  Id. The factors are flexible. “No single factor is dispositive and a court need not consider every

  factor in every case.” Id.

         Here, Plaintiffs have achieved success on the merits. The court elects to exercise its

  discretion to permit an award of attorney’s fees and costs. Although the court has not ruled that

  UBH acted in bad faith in denying benefits, UBH was culpable in failing to properly evaluate

  Plaintiffs’ claims for benefits and provide reasoned explanations for its determinations. UBH has

  the ability to satisfy an award of fees, and an award of fees here may serve to encourage UBH and

  its peers to engage in a “meaningful dialogue” with claimants in the future. For these reasons, the

  court will award appropriate attorneys’ fees to Plaintiffs for work performed by Plaintiffs’ counsel

  as defined by 28 U.S.C. § 1920. Within twenty-one days of this order, Plaintiffs’ counsel should

  submit a petition for attorneys’ fees and costs, including an affidavit indicating a calculation of

  fees with an accounting of time and costs.




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                                             ORDER

        For the foregoing reasons, the court DENIES the Defendants’ motion for summary

  judgment and GRANTS Plaintiffs’ motion for summary judgment. Specifically:

     1. Defendants’ motion for summary judgment (ECF No. 37) on UBH’s decision to deny

        benefits for L.P.’s treatment at Summit and Uinta is DENIED.

     2. Plaintiffs’ motion for summary judgment (ECF No. 39) regarding their claims for payment

        for L.P.’s treatment at Summit and Uinta is GRANTED. The court therefore does not

        address the parties’ cross-motions for summary judgment on the Parity Act claim (ECF

        Nos. 66, 69) on grounds of mootness.

     3. The court GRANTS Plaintiffs’ request for an order awarding benefits under the plan. The

        court ORDERS that UBH’s denial of benefits is REVERSED and further ORDERS that

        UBH pay Plaintiffs’ benefit claim for Summit and Uinta.

            a. Plaintiffs’ request for prejudgment interest on the benefits amount is GRANTED.

            b. Because the parties have not focused on the amount of the claim nor provided

               briefing on the issue of prejudgment interest, the court ORDERS the parties to meet

               and confer and submit a proposed joint judgment setting forth the amount of

               benefits and prejudgment interest due. If the parties are unable to agree on an

               amount, each party shall submit its own proposed judgment within twenty-one (21)

               days of this order.

     4. Plaintiffs request for attorney’s fees and costs is GRANTED. Plaintiffs’ counsel should

        submit its petition for fees and costs within twenty-one (21) days of this order.




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                   DATED September 29, 2021.



                                     BY THE COURT


                                     ____________________________
                                     Jill N. Parrish
                                     United States District Court Judge




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